                                              UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF MICHIGAN

                                                                                CHAPTER 13
In re:      Renee M. Kronsperger
                                                                                                   15-48663
                                                                     ,          CASE NO:
                                     Debtor(s).                                 JUDGE              Walter Shapero
                                                                     /

                                                       ORDER CONFIRMING PLAN

        The Debtor(s)' Chapter 13 plan was duly served on all parties in interest. A hearing on
confirmation of the plan was held after due notice to parties in interest. Objections, if any, have been
resolved. The Court hereby finds that each of the requirements for confirmation of a Chapter 13 plan
pursuant to 11 USC §1325(a) are met.

          Therefore, IT IS HEREBY ORDERED that the Debtor(s)' Chapter 13 plan, as last amended, if at
all, is confirmed.

        IT IS FURTHER ORDERED that the claim of Babut Law Office, P.L.L.C., Attorney for the
Debtor(s), for the allowance of compensation and reimbursement of expenses is allowed in the total
amount of $ 3,500.00 in fees and $ .00 in expenses, and that the portion of such claim which has not
already been paid, to-wit: $ 2,710.00 shall be paid by the Trustee as an administrative expense of this case.

        IT IS FURTHER ORDERED that the Debtor(s) shall maintain all policies of insurance on all
property of the Debtor(s) and this estate as required by law and contract.

        All filed claims to which an objection has not been filed are deemed allowed pursuant to 11 USC
§502(a), and the Trustee is therefore ORDERED to make distributions on these claims pursuant to the
terms of the Chapter 13 plan, as well as all fees due the Clerk pursuant to statute.

            IT IS FURTHER ORDERED as follows: [Only provisions checked below apply]

      The Debtor(s) shall remit      % of all tax refunds to which Debtor(s) is/are entitled during the
      pendency of the Plan and shall not alter withholdings without Court approval.

      The Debtor(s)' Plan shall continue for no less than                     months.

      The claim of                                                                      shall be paid in accordance
      with its duly filed claim unless otherwise ordered by the Court.

      The Debtor(s)' Plan payments shall be increased to $ 99.20 bi-weekly effective the 26th day of October,
      2015.

      Creditor's rights to object to the last filed Amended Plan are preserved until
                                     .

      Other:

Objections Withdrawn
For Creditor
For Creditor

Approved:


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/s/ Tammy Terry                                                               /s/ Thomas Paluchniak
Tammy Terry                                                                   Thomas Paluchniak P70284
Chapter 13 Standing Trustee                                                   Babut Law Office, P.L.L.C.
535 Griswold, Suite 2100                                                      Attorney for Debtor(s)
                                                                              700 Towner Street
Detroit, MI 48226                                                             Ypsilanti, MI 48198
(313) 967-9857                                                                (734) 485-7000




 


Signed on October 30, 2015
                                                                     ____ __/s/ Walter Shapero_    ___
                                                                        Walter Shapero
                                                                        United States Bankruptcy Judge

 




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